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      PLAY LLC, ALEX A. GINZBURG, DONGKWAN “TONY” LEE
  7

  8                           UNITED STATES DISTRICT COURT
  9                         CENTRAL DISTRICT OF CALIFORNIA
 10

 11
      BONDIT, LLC, a California limited            Case No.: 2:19-cv-09832-AB-RAO
 12   liability company,
 13          Plaintiff,                            DEFENDANTS’ REPLY TO
                                                   PLAINTIFF’S OPPOSITION TO
 14                        vs.                     MOTION TO DISMISS PURSUANT
                                                   TO RULE 12(b)(6) OF THE FEDERAL
 15   HALLOWS MOVIE, INC., a Nova                  RULES OF CIVIL PROCEDURE
      Scotia corporation; HALLOWS
 16   MOVIE, LLC, a Puerto Rico limited
      liability company; HALLOWS
 17   MOVIE, LLC, a Louisiana limited
      liability company; UTOPIA FILM,              Date: March 6, 2020
 18   L.L.C., a Puerto Rico limited liability      Time: 10:00 am
      company; CROSSFACE LLC, a                    Place: Courtroom 7B
 19   Louisiana limited liability company;
      LET IT PLAY, LLC, a Connecticut
 20   limited liability company; ALEX A.           Judge: Hon. Andre Birotte
      GINZBURG, an individual;
 21   DONGKWAN “TONY” LEE, an
      individual; HYUN KIM, an individual;
 22   JORGE ALBERTO MARTINEZ-
      DAVILA, an individual,
 23
             Defendants.
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         DEFENDANTS’ REPLY TO PLAINTIFF’S OPPOSITION TO MOTION TO DISMISS PURSUANT TO RULE
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  1
                                       I.     INTRODUCTION
  2

  3          Plaintiff’s Opposition attempts to portray Defendants’ entire Motion to Dismiss
  4   as a meritless motion that does not conform with the requirements of a Rule 12(b)(6)
  5   Motion to Dismiss. Yet, Plaintiff utilizes 23 pages to defend its Complaint and the
  6   specified causes of action contained therein. The truth of the matter is that Defendants’
  7   motion raises serious and meritorious deficiencies with some of the causes of action
  8   contained in Plaintiff’s Complaint and as a result Plaintiff feels compelled to write 23
  9   pages in defense of those causes of action. However, the court must not be confused
 10   by the length of Plaintiff’s Opposition and instead focus on the very precise and
 11   specific deficiencies raised by Defendants’ motion. Plaintiff’s Opposition has not
 12   adequately addressed the numerous deficiencies identified by Defendants’ motion.
 13          No matter how Plaintiff spins the facts or portrays its Complaint, the undeniable
 14   fact remains that this action is primarily concerned with an alleged breach of a loan
 15   contract, an alleged default on the part of Defendants, and alleged damages suffered
 16   by Plaintiff as a result of the default. While Plaintiff may also include claims of
 17   misrepresentation based on the facts alleged in its Complaint, Plaintiff should not be
 18   allowed to present an overblown case by utilizing causes of action that border on
 19   criminal behavior and use statutes that are primarily designed to punish and deter
 20   organized criminal activity. Doing so would not only be unfair to Defendants, but it
 21   would also open the floodgates of litigation to Plaintiffs who might use an
 22   overwhelming number of causes of action in an effort to obtain an unfair litigation
 23   advantage against defendants whose conduct does not fit the intended purposes of the
 24   relevant statutes.
 25          Plaintiff’s Opposition states that the Federal Rules of Civil Procedure Rule 8
 26   (a)(2) only requires “a short and plain statement of the claim showing that the pleader
 27   is entitled to relief”; Federal Rules of Civil Procedure, Rule 8 (a)(2). However,
 28   Plaintiff fails to realize that the United States Supreme Court decision in Bell Atlantic
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  1   Corporation v. Twombly, 550 U.S. 544 (2007), significantly altered the application of
  2   this Rule in federal court pleading practice and procedure. Hence, “actual allegations
  3   must be enough to raise a right to relief above the speculative level….” Id.
  4          Defendants’ Motion to dismiss with respect to Plaintiff’s First Claim based on
  5   Racketeer Influenced and Corrupt Organizations Act (hereafter “RICO”), Second
  6   Claim based on Conspiracy to violate RICO, and Third Claim based on violation of
  7   California Penal Code §496, represent the most important part of Defendants’ motion.
  8   Plaintiff argues that it has met all the requirements of a RICO cause of action.
  9   However, it is clearly obvious that Plaintiff’s entire RICO causes of action are based
 10   on a “single transaction” consisting of Defendants obtaining the loan underlying
 11   Plaintiff’s present action. Plaintiff’s Complaint attempts to show that obtaining the
 12   loan and then allegedly defaulting on the obligation to repay the loan can constitute an
 13   enterprise conducting a “pattern of racketeering activity.” The court must not be
 14   deceived by Plaintiff’s attempt to complicate a simple issue. No matter how Plaintiff
 15   spins it, this is a “single transaction” concerning a single loan obtained from the same
 16   entity (i.e. Plaintiff BondIt, LLC). In fact, binding case law authority cited by Plaintiff
 17   in its Opposition is directly on point and mandates the dismissal of Plaintiff’s RICO
 18   cause of action. Thus, there is no “pattern of racketeering activity”. The fallacy of
 19   Plaintiff’s position can be shown by demonstrating that if the event of alleged default
 20   can somehow be redressed by Defendants and Plaintiff receives the full amount of
 21   money that it demands, then the “pattern of racketeering activity” suddenly disappears.
 22   Similarly, there is no theft as the money was advanced with Plaintiff’s full knowledge
 23   and consent and pursuant to a comprehensive contract. Therefore, the requirements
 24   for California Penal Code §496 can never be met.
 25          As to Plaintiff’s Fifth Claim for Money had and Received, the issue is that the
 26   cause of action is unavailable when there is an allegedly express contract between the
 27   parties. This issue has not been adequately addressed in Plaintiff’s Opposition. As to
 28   the Tenth Claim for Unfair Competition, again Plaintiff is attempting to punish the
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  1   alleged default of a loan by a statute which is primarily used to address unfair
  2   competition between businesses in the state of California. This is a misuse of the
  3   Unfair competition statute.
  4

  5
                                      III. LEGAL ARGUMENT

  6   A.     PLAINTIFF’S OPPOSITION CONFIRMS THAT ITS RICO CLAIM
  7   AND THE CLAIM FOR CONSPIRACY TO VIOLATE RICO MUST BE
  8   DISMISSED:
  9
 10          The validity of Plaintiff’s RICO claim is simply a matter of statutory
 11   construction as has been codified under 18 U.S.C. §1962(c). The statute states in
 12   relevant part: “It shall be unlawful for any person employed by or associated with any
 13   enterprise engaged in, or the activities of which affect, interstate or foreign commerce,
 14   to conduct or participate, directly or indirectly, in the conduct of such enterprise’s
 15   affairs through a pattern of racketeering activity or collection of unlawful debt. 18
 16   U.S.C. §1962(c).
 17          A violation of § 1962(c), requires (1) conduct (2) of an enterprise (3) through a
 18   pattern (4) of racketeering activity. The plaintiff must, of course, allege each of these
 19   elements to state a claim. Sedima, SP RL v. Imrex Co., 473 US 479, 496 (1985). The
 20   obvious issue here is that Plaintiff has a serious problem demonstrating the existence
 21   of an enterprise engaged in a pattern of racketeering activity. This is due to the fact
 22   that we are talking about a “single transaction”, namely the advance of a motion picture
 23   loan by the Plaintiff to the Defendants. Plaintiff has attempted to portray this “single
 24   transaction” as a pattern of racketeering activity. Yes, this “single transaction” might
 25   have subparts, but this does not change its character from being a “single transaction”.
 26   Plaintiff’s Opposition merely confirms this fact. The cases cited by Plaintiff actually
 27   are more in favor of supporting Defendants’ position in this regard and conclusively
 28   establish that Defendants’ position is correct.
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  1          The Court is referred to the case Medallion Television Enterprises, Inc. v.
  2   SelecTV of California, Inc., 833 F.2d 1360 (9th Cir. 1987), cited by Plaintiff (See
  3   Opposition 11:18-22) which provides binding authority for this court and presents facts
  4   that are similar to the present action. The following direct quotes from the case are
  5   instructive: “This case involved but a single alleged fraud with a single victim. All of
  6   SelecTV's assertions about the number of licensing agreements it had obtained were
  7   parts of its single effort to induce Medallion to form the joint venture in order to obtain
  8   the broadcast rights from the promoters. In essence, Medallion's allegations concern a
  9   single fraudulent inducement to enter a contract. Once the joint venture had acquired
 10   the broadcast rights, the fraud, if indeed it was a fraud, was complete. Medallion has
 11   not directed us to any evidence that SelecTV defrauded it in any other way as a part of
 12   this scheme or any other, nor is there anything in the nature of the transaction to suggest
 13   that SelecTV would have needed to commit any other fraudulent acts. Similarly,
 14   notwithstanding Medallion's unsupported assertions to the contrary, Medallion was the
 15   single victim of the alleged fraud.” Medallion Television Enterprises, Inc. v. SelecTV
 16   of California, Inc., 833 F.2d 1360, 1363-1364 (9th Cir. 1987).
 17          The Medallion court also cites Schreiber Distributing v. Serv-Well Furniture
 18   Co., 806 F.2d 1393, 1399 (1986), another binding authority which holds as follows:
 19   “Schreiber's allegations did not establish, however, the "threat of continuing activity."
 20   Sedima, 105 S.Ct. at 3285 n. 14. The complaint alleged the fraudulent diversion of a
 21   single shipment of Chambers' products in 1982. This appears to be an "isolated event."
 22   See id. Because of the failure to allege facts establishing the "threat of continuing
 23   activity," Schreiber's complaint did not meet the requirement of a showing of
 24   "continuity plus relationship which combines to produce a pattern." Id. The RICO
 25   counts were properly dismissed for failure to state a claim on this ground. Id. at 1399.
 26          In the instant case there is absolutely no “threat of continuing activity” since we
 27   are dealing with a single transaction namely the advance of the $1.5 million loan by the
 28   Plaintiff to Defendants. Thus, based on controlling authority of the 9th Circuit,
                                                     -4-
      _________________________________________________________________________________________________
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  1   Plaintiff’s RICO claim must be dismissed.             In fact, the Medallion court’s final
  2   observation is instructive: “If the fraud alleged here constitutes a pattern of racketeering
  3   activity, rare would be the fraud that could not be pleaded as a RICO case.” Medallion
  4   Television Enterprises, Inc. v. SelecTV of California, Inc., 833 F.2d 1360, at 1365 (9th
  5   Cir. 1987).
  6          Finally, A RICO claim based on mail and wire fraud must satisfy Federal Rule
  7   of Civil Procedure 9(b) by pleading with particularity the circumstances constituting
  8   fraud. See Lundy v. Catholic Health Sys. of Long Island Inc., 711 F.3d 106, 119 (2d
  9   Cir. 2013). In addition, facts must be alleged as to each individual defendant. DeFalco
 10   v. Bernas, 244 F.3d 286, 306 (2d Cir. 2001). Finally, a RICO "enterprise" must be
 11   separate and distinct from the "person" conducting the racketeering activities of the
 12   enterprise. DeFalco, 244 F.3d at 307. While these cases are from the 2nd Circuit,
 13   Plaintiff has not cited any 9th Circuit case that mandates a different rule than above.
 14   Therefore, the above cases serve as strong persuasive authority.
 15          It is important to note that Plaintiff merely alleges that Defendants funneled
 16   money to themselves “at the expense of BondIt and others” Comp. ¶71. Yet, Plaintiff
 17   does not identify who the “others” are.
 18          As to Plaintiff’s Conspiracy claim, because plaintiff has failed to state a
 19   substantive RICO claim, plaintiff's RICO conspiracy claim necessarily fails as well.
 20   See First Capital Asset Mgmt. v. Satinwood, Inc., 385 F.3d 159, 182 (2d Cir. 2004).
 21

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 23   B.     PLAINTIFF’S OPPOSITION FAILS TO JUSTIFY PLAINTIFF’S CAUSE
 24   OF ACTION FOR VIOLATION OF CAL. PENAL CODE §496:
 25

 26          Plaintiff’s Opposition attempts to redress the deficiency contained in its cause of
 27   action for violation of Cal. Penal Code §496 by citing People v. Miller, 81 Cal.App.4th
 28   1427, 1445−1446 (2000). However, the cited case simply pertains to theft by false
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      _________________________________________________________________________________________________
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  1   pretenses. Moreover, Plaintiff’s cited case is not even remotely similar to the present
  2   case. The Miller case concerned a woman who frequently visited an 84 year old man’s
  3   house by pretending that she loved the old man and induced him to pay money to her
  4   in reliance of her false pretenses. This fact pattern is in no way similar to the fact
  5   pattern of this case.
  6          Plaintiff has failed to cite a single legal authority that supports the proposition
  7   that Cal. Penal Code §496 may be utilized based on allegations sounding in fraud or
  8   even an allegation of theft by false pretenses.            If the court accepts Plaintiff’s
  9   proposition, then every plaintiff with a fraud claim involving the payment of money
 10   can utilize the Penal Code to allege some kind of criminal theft. Such a result is
 11   certainly not advisable and not consistent with California’s legal procedure. Plaintiff
 12   advanced the loan in accordance with the terms of its comprehensive contract. Plaintiff
 13   further chose to modify the terms of the original loan contract in order to prevent
 14   default. The decision to amend the original loan contract was a voluntary decision
 15   made by the Plaintiff. The facts do not show theft by false pretenses and the most that
 16   can be alleged is misrepresentation which Plaintiff has a separate claim for in the
 17   Complaint.
 18

 19   C.     PLAINTIFF’S           OPPOSITION            DOES       NOT        ADDRESS          THE
 20   FUNDAMENTAL INCONSISTENCY IN ITS MONEY HAD AND RECEIVED
 21   CAUSE OF ACTION:
 22            The action for money had and received is based upon an implied promise
 23   which the law creates to restore money which the defendant in equity and good
 24   conscience should not retain. Rotea v. Izuel, 14 Cal.2d 605, 611 (1939). The concept
 25   of an implied promise is inconsistent with the existence of an express contract. While
 26   it is true that Plaintiff may assert as many claims as it has regardless of consistency
 27   (Federal Rules of Civil Procedure 8(d)(3)), the Federal Rules do not prohibit a
 28   Defendant from bringing a Rule 12(b)(6) Motion against an inconsistent claim. In
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   1   essence, Defendants’ position is that Plaintiff cannot rely on two related and
   2   inconsistent claims and must choose one or the other. This is not a case where the
   3   inconsistent claims provide multiple cumulative remedies such as when a Plaintiff sues
   4   both on theories of contract and tort. Instead, the claim for Money Had and Received
   5   implies that there is no contract between the parties while the claim for breach of an
   6   express contract take the exact opposite position.
   7          Since Defendants have to prepare for trial, this total inconsistency is prejudicial
   8   to Defendants and impairs their ability to effectively prepare for trial. For this reason,
   9   the claim for Money Had and Received must be dismissed pursuant to Federal Rule of
  10   Civil Procedure 12(b)(6).
  11

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       D.     PLAINTIFF’S OPPOSITION FAILS TO JUSTIFY ITS TENTH CLAIM
  13
       FOR RELIEF BASED ON CALIFORNIA’S UNFAIR COMPETITION LAW:
  14

  15          Business and Professions Code section 17200 prohibits any "unlawful, unfair or
  16   fraudulent business act or practice." Because the statute is written in the disjunctive, it
  17   prohibits three separate types of unfair competition: 1) unlawful acts or practices, 2)
  18   unfair acts or practices, and 3) fraudulent acts or practices. Cel-Tech Communications,
  19   Inc. v. Los Angeles Cellular Telephone Co. 20 Cal.4th 163, 180 (1999). The problem
  20   here is that there is no business act or practice. Plaintiff’s Opposition argues that
  21   Plaintiff’s Complaint has alleged “unlawful conduct” under 18 U.S.C. §1962(c), and
  22   wire fraud in violation of 18 U.S.C. §1343. Plaintiff also contends that it has alleged
  23   “fraudulent” conduct. However, the problem is that all of the unlawful or fraudulent
  24   conduct that Plaintiff is complaining about is NOT part of a distinct business act or
  25   practice directed against the Plaintiff. Instead, the conduct pertains to the loan that was
  26   advanced by the Plaintiff to Defendants. There is no identifiable act or business
  27   practice directed against the Plaintiff. The scope of the Unfair Competition law is:
  28   "anything that can properly be called a business practice and that at the same time is
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   1   forbidden by law." Cel-Tech Communications v. La Cellular, 83 Cal.Rptr.2d 548, 561
   2   (1999). However, in the instant case, all of Plaintiff’s allegations pertaining to the
   3   conduct of Defendants stem from Plaintiff’s advance of the motion picture loan to
   4   Defendants. No independent business practice or act that is forbidden by law has been
   5   shown. For this reason, Plaintiff’s Unfair Competition claim must be dismissed
   6   pursuant to Federal Rule of Civil Procedure 12(b)(6).
   7

   8

   9   E.     PLAINTIFF         HAS      NOT      MET      THE      REQUIREMENTS              OF     A
  10   CONVERSION CAUSE OF ACTION AND DEFENDANTS SUBMIT ON THE
  11   TWELFTH CLAIM FOR FRAUDULENT CONVEYANCE:
  12

  13          ‘To establish a conversion, plaintiff must establish an actual interference with
  14   his ownership or right of possession . . .. Where plaintiff neither has title to the property
  15   alleged to have been converted, nor possession thereof, he cannot maintain an action
  16   for conversion.’ ” Moore v. Regents of the Univ. of Cal., 51 Cal.3d 120, 136 (1990).
  17   Here, Plaintiff voluntarily advanced a motion picture loan to Defendants. Defendants
  18   came into possession of the proceeds of the loan in a legal manner. Therefore, there
  19   was never an actual interference with Plaintiff’s ownership rights or right to possession
  20   of the loan as this was a voluntary transfer of money by the Plaintiff. Based on these
  21   facts, Plaintiff’s Eleventh Claim for Conversion must be dismissed in accordance with
  22   Rule 12(b)(6) of the Federal Rules of Civil Procedure.
  23          As to Plaintiff’s Twelfth Claim for fraudulent conveyance, Defendants submit
  24   based on the arguments and authority presented in the initial moving papers of the
  25   Motion.
  26   ///
  27   ///
  28   ///
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   1
                                           IV. CONCLUSION

   2          For all the foregoing reasons, Plaintiff’s First, Second, Third, Fifth, Tenth,
   3   Eleventh, and Twelfth Claims for Relief must be dismissed pursuant to Rule 12(b)(6)
   4   of the Federal Rules of Civil Procedure without leave to amend.
   5   Respectfully Submitted.
   6

   7
       Dated: February 21, 2020                          THE MIRKHAN LAW FIRM, APC
   8

   9                                                     /s/ Mehrshad Mirkhan
                                                  By:
  10                                                     Mehrshad Mirkhan
                                                         ATTORNEYS FOR DEFENDANTS
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